UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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In re HAIN CELESTIAL HEAVY METALS
BABY FOOD LITIGATION,                        CONSOLIDATION ORDER
                                             No. 21-CV-0678(JS)(AYS)
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This Document Relates to

Lawrence v. Hain Celestial Group, Inc., et. al.              No. 21-CV-1287

Albano v. Hain Celestial Group, Inc. , et. al.               No. 21-CV-1118

Andrews v. Beech-Nut Nutrition Company et. al.               No. 21-CV-1704

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SEYBERT, District Judge:

          WHEREAS, on May 13, 2021, this Court issued an Order

consolidating thirteen (13) cases in this District before the

undersigned    in   In    re   Hain   Celestial    Heavy   Metals   Baby   Food

Litigation,    Case      No.   21-CV-0678   (the   “Consolidated    Action”),

wherein Plaintiffs assert claims against Defendant Hain Celestial

Group, Inc. (“Hain”) for violations of various state consumer

protection laws and statutes arising out of allegations that Hain

engaged in deceptive business practices with respect to its baby

food products by failing to disclose that the products contain

levels of toxic heavy metals, including arsenic, lead, cadmium,

and mercury.    (See Consolidation Order, ECF No. 47.)1




1 Unless otherwise indicated, all docket citations refer to the
docket in the Consolidated Action, Case No. 21-CV-0678.
             WHEREAS, the Court excluded Albano v. Hain Celestial

Group, Inc., No. 21-CV-1118 (the “Albano Action”) and Lawrence v.

Hain Celestial Group, Inc., No. 21-CV-1287 (the “Lawrence Action”)

from the Consolidation Order “without prejudice and [with] leave

to renew at such a time as (1) the respective courts rule on any

forthcoming severance and/or transfer motion, or (2) the parties

request    reassignment       to,   and    raise      the     issues    before,   the

undersigned.”    (Consolidation Order at 7 ¶ 3.)

             WHEREAS,   the    plaintiffs        in     the   Albano    Action,   the

Lawrence Action, and in Andrews v. Beech-Nut Nutrition Company et.

al., No. 21-CV-1704 (the “Andrews Action”), have filed motions to

consolidate     these     actions         with    the       Consolidated      Action,

representing that they will file amended complaints asserting

consumer-protection       type      claims       against      Hain     as   the   sole

defendant.      (Albano Consolidation Mot., ECF No. 83; Lawrence

Consolidation Mot., ECF No. 85; Andrews Consolidation Mot., ECF

No. 88.)

             WHEREAS, Federal Rule of Civil Procedure 42(a) provides

that a court may consolidate “actions before the court” if they

“involve a common question of law or fact.”                   Courts have “‘broad

discretion’     to   determine       whether       to     consolidate       actions.”

Breakwater Trading LLC v. JPMorgan Chase & Co., No. 20-CV-3515,

2020 WL 5992344, at *2 (S.D.N.Y. Oct. 9, 2020) (quoting Johnson v.

Celotex Corp., 899 F.2d 1281, 1284 (2d Cir. 1990)). In determining

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whether to consolidate actions, courts may consider “judicial

economy,”    which    favors   consolidation,     but     must    ensure    that

consolidation will not jeopardize “a fair and impartial trial.”

Johnson, 899 F.2d at 1285.

            WHEREAS,    upon       due   consideration     of    the    parties’

submissions, the Court finds that entry of this Order will promote

judicial economy, avoid duplicative proceedings, and streamline

adjudication of related matters.

            Accordingly, IT IS HEREBY ORDERED THAT the motions to

consolidate the Albano Action, the Lawrence Action, and the Andrews

Action are GRANTED and plaintiffs in the Albano Action, the

Lawrence    Action,    and   the    Andrews   Action     shall   file    amended

complaints, consistent with the Consolidation Order and their

Letter Motions, to their respective dockets within fourteen (14)

days from the date of this Order;

            IT IS FURTHER ORDERED that, pursuant to the Court’s

Consolidation Order, the Albano Action, the Lawrence Action, and

the Andrews Action are hereby CONSOLIDATED with the Consolidated

Action pending before the undersigned, and shall proceed under

lead Case No. 21-CV-0678 as follows: In re Hain Celestial Heavy

Metals Baby Food Litigation, Case No. 21-CV-0678.                      Except as

otherwise provided herein, all future filings shall be docketed in

lead Case No. 21-CV-0678;



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           The Clerk of the Court is respectfully directed to

(1) GRANT the motions pending at ECF Nos. 83, 85, and 88 in lead

Case No. 21-CV-0678; (2) docket this Order in the Consolidated

Action, the Albano Action, No. 21-CV-1118; the Lawrence Action,

No.   21-CV-1287;   and   the     Andrews   Action,     No.   21-CV-1704;    and

(3) consolidate the Albano Action, the Lawrence Action, and the

Andrews Action with the Consolidated Action.

           The    Court   will    direct    the   Clerk   of   the   Court    to

administratively close the Albano Action, the Lawrence Action, and

the   Andrews    Action   after   receipt    of   the   forthcoming   amended

complaints.



                                            SO ORDERED.


                                            /s/ JOANNA SEYBERT
                                            Joanna Seybert, U.S.D.J.

Dated:     June _ 14 , 2021
           Central Islip, New York




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